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                                                IN THE UNITED STATES DISTRICT COURT
                                                FOR THE EASTERN DISTRICT OF VIRGINIA

       APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.l(D) AND LOCAL
                                         CRIMINAL RULE 57.4
                       In Case Number 3:19-cr-00130-MHL , Case N~lme United States v. Chatrie
                       Party Represented by Applicant: _G_o_og_l_e_LL_c_ _ _ _ _ _ _ _ _ _ _ _ _ __

To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

                                                                PERSONAL STATEMENT

FULL NAME (no initials, please) _C_a_th_e_ri_n_e_M_a_ry_A;__g_n_e_s_Ca_r_ro_l_l- - - - - - - - - - - - - - - - - - ' - - - - - -
Bar Identification Number 497890                    State District of Columbia          (also Virginia (No. 50939))
Firm Name Wilmer Cutler Pickering Hale and Dorr LLP
Firm Phone # (202) 663-6000                      Direct Dial # (202) 663-6072                            FAX # _,(...,,.20,...2.,_).>(J66""'3w·6""'3""'63,,___ _ __
E-Mail Address catherine.carroll@wilmerhale.com .
Office Mailing Address 1875 Pennsylvania Ave. NW, Washington, DC 20006

Name(s) of federal court(s) in which I have been admitted See attachment
                                                                         ------------------------
I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
                                                                                         1
member of the bar.

I hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court·
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

I am _ _ am not~ a full~time employee of the United States of America, and if                                , re                            he admission fee.



I, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant's personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.

                                                                                                                                    12/20/2019
                                                             (Signature)                                                            (Date)
                                                             Brittany Amadi                                                         80078
                                                                       (Typed or                                                    (VA Bar Number)
Court Use Only:

Clerk's Fee Paid _ _ _ or Exemption Granted _ __

The motion for admission is GRANTED - - - or DENIED - - ' - - -




                               (Judge's Signature)                                                              (Date)
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                                        Catherine Carroll
                                List of Federal Court Admissions

Supreme Court of the United States
U.S. Court of Appeals for the D.C. Circuit
U.S. Court of Appeals for the First Circuit
U.S. Court of Appeals for the Second Circuit
U.S. Court of Appeals for the Third Circuit
U.S. Court of Appeals for the Fourth Circuit
U.S. Court of Appeals for the Fifth Circuit
U.S. Court of Appeals for the Ninth Circuit
U.S. Court of Appeals for the Eleventh Circuit
U.S. Court of Appeals for the Federal Circuit
U.S. District Court for the District of Columbia
